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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

               Plaintiff,                                   Case No. 1:12-CR-132

 v.                                                         HON. ROBERT HOLMES BELL

 ANDREW PENALOZA,

             Defendant.
 ____________________________________/


                            MEMORANDUM OPINION AND ORDER

        Defendant Andrew Penaloza has filed a motion for modification or reduction of sentence

 (ECF No. 1373) pursuant to 18 U.S.C. §3582(c)(2) on the basis of Amendment 782 of the United

 States Sentencing Guidelines, made retroactive by the Sentencing Commission.

        Section 3582(c)(2) permits a court to reduce the term of imprisonment of a defendant who

 has been sentenced based on a sentencing range that has subsequently been lowered by the

 Sentencing Commission. 18 U.S.C. § 3582(c)(2). Amendment 782 of the United States Sentencing

 Guidelines reduced by two levels the offense levels assigned to the quantities that trigger the

 statutory mandatory minimum penalties in U.S.S.G. §§ 2D1.1 and 2D1.11. These modifications

 were made retroactive effective November 1, 2014. U.S.S.G. § 1B1.10.

        The Probation Department filed a sentence modification report on September 11, 2015 (ECF

 No. 1543). In its report, the probation department recommended the defendant is eligible for

 reduction in sentence based on defendant currently being an inmate, USSG § 2D1.1 was used in the

 guideline calculations, and the guideline range applicable to the defendant subsequently has been
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 lowered as a result of the retroactive amendment to the Sentencing Guidelines (782). A reduction

 of sentence is consistent with the policy statements of the U.S. Sentencing Commission. Counsel

 for the defendant and the government have filed responses to the Sentence Modification Report and

 have no objections to the report or its recommendation.

        NOW THEREFORE, IT IS HEREBY ORDERED that Defendant's motion for modification

 of sentence (ECF No. 1373) pursuant to 18 U.S.C. § 3582(c)(2) is GRANTED. Defendant Andrew

 Penaloza's sentence shall be reduced to 90 months imprisonment, effective November 1, 2015. An

 order effectuating the sentence reduction shall issue forthwith.




 Dated: October 2, 2015                           /s/ Robert Holmes Bell
                                                  ROBERT HOLMES BELL
                                                  UNITED STATES DISTRICT JUDGE
